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                           UNITED STATES BANKRUPTCY COURT
                            SOUTHERN DISTRICT OF INDIANA
                                 NEW ALBANY DIVISION


      IN RE:                        .               Case No. 10-93904-BHL-11
                                    .
                                    .
      EASTERN LIVESTOCK CO., LLC,   .               110 U.S. Courthouse
                                    .               121 West Spring Street
                                    .               New Albany, IN 47150
                                    .
                          Debtor.   .               January 13, 2012
      . . . . . . . . . . . . . . . .               10:12 a.m.


        TRANSCRIPT OF MOTION TO APPROVE AN INFORMAL AD HOC COMMITTEE
           AND APPLICATION TO EMPLOY PHILLIP L. KUNKEL AS MEDIATOR
                     BEFORE HONORABLE BASIL H. LORCH, III
                     UNITED STATES BANKRUPTCY COURT JUDGE


      APPEARANCES:

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   1            (Difficult to discern telephone participants)

   2              THE COURT:       All right.      We’re on the record in

   3 Eastern Livestock.          I have a list of the appearances by phone.

   4 Would the attorneys in the courtroom state the appearances,

   5 please?

   6              MR. OYLER:       Mike Oyler, Your Community Bank.

   7              MR. BRAND:       Steve Brand, Superior Livestock.

   8              THE COURT:       We have a proposed agenda that we’re

   9 working from.      I would ask all attorneys who are appearing by

  10 phone to -- and in the courtroom -- to state your name before

  11 you speak so that we can have a clear record.                And, as always,

  12 if you put us on hold -- don’t put us on hold especially if

  13 your phone plays music.          And it’s helpful if you keep your

  14 phone on mute until you speak.

  15              Who wants to take me through the agenda?

  16              MS. HALL:       This is Terry Hall, Your Honor, for the

  17 trustee and short of (indiscernible) I’m happy to start today.

  18              THE COURT:       All right.

  19              MS. HALL:       We would move down to Item Roman Numeral

  20 II the matter of the employment application filed by the

  21 trustee to employ Phillip L. Kunkel as a mediator in these

  22 proceedings, and Mr. Kunkel is on the line.                The application

  23 was filed on January 3rd.           No objections have been received --

  24 have been filed or received by the trustee, and we’d ask that

  25 the application be approved.


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   1              THE COURT:       Anyone else want to be heard on that

   2 matter?

   3                              (No audible response)

   4              THE COURT:       I’ll show that that application is

   5 approved.

   6              MS. HALL:       The next item, Your Honor, is an adversary

   7 proceeding which is the Superior Livestock Auction versus

   8 Eastern Livestock.          At this point there was simply I think a

   9 suggestion at the last hearing that the parties may want to

  10 address a briefing and argument schedule on Fifth Third’s

  11 motion.    I believe Mr. LaTour is on the line.

  12              MR. LATOUR:       Yes, Your Honor, this is Randall LaTour.

  13 I am on the line.

  14              THE COURT:       All right.

  15              MS. HALL:       And I believe (indiscernible) is on the

  16 line and I believe somebody for Superior is in the courtroom.

  17              MR. ROGERS:       Also, John Rogers is on the line for

  18 Superior.

  19              THE COURT:       All right.      And so -- well I thought the

  20 briefing schedule was already -- oh, no, is that the one we

  21 held?    Yes, we delayed the briefing schedule pending the

  22 briefing in the other matters, didn’t we?

  23              MR. LATOUR:       Your Honor, this is Randall LaTour from

  24 Fifth Third.      What your order actually says is that you grant

  25 the order -- or grant the motion of Superior.                Accordingly all


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   1 deadlines for briefing and arguments are tolled until further

   2 order of the Court.         The parties may address the briefing

   3 argument schedule related to Fifth Third’s motion at the

   4 omnibus hearing on January 13.           So, you have it on hold and

   5 apparently invited comment today if somebody was so moved.

   6              THE COURT:      Are you so moved?

   7              MR. LATOUR:      I’m at the pleasure of the Court, Your

   8 Honor.

   9              THE COURT:      Well, you know, we’re still -- I mean, I

  10 don’t know that I really care.           I’m not going to get to it

  11 right away even if you start briefing it because I’m still in

  12 the middle of the other matters that have been briefed.

  13              MR. LATOUR:      Well, Your Honor, I’ve already briefed

  14 mine and the other one is simply on -- you know, the response

  15 is on hold.

  16              THE COURT:      Right.

  17              MR. ROGERS:      Your Honor, this is John Rogers.           I

  18 actually filed the motion on behalf of Superior.                And of course

  19 the main reason for doing it was the matters that have already

  20 been briefed that are before the Court pretty much simplify or

  21 perhaps moot the issues related to this motion (indiscernible)

  22 So, the other pending motion and the fact that it doesn’t

  23 really make sense.

  24              THE COURT:      All right.      I think what I’ll do is, I’ll

  25 leave it as it is until the February 13th omnibus and I hope to


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   1 have some orders out before then which will maybe clarify

   2 things or certainly advance matters to a certain degree.

   3              MR. ROGERS:     Thank you, Your Honor.

   4              THE COURT:     So, we’ll leave that as it is until the

   5 next omnibus which is on February 13th at 10 a.m.

   6              All right.     Moving on.

   7              MS. HALL:      The last item, Your Honor, is a related

   8 case of Thomas and Patsy Gibson and it’s a motion by Peoples

   9 Bank & Trust with various objections by the trustee.                  Mr. Raluy

  10 is on the phone representing Peoples Bank & Trust.                   And Mr.

  11 Toner is here on the phone with me.             Our understanding is that

  12 the parties have reached an agreement and will file an agreed

  13 entry on this matter.

  14              MR. RALUY:     Yes and no.       And this is Anthony Raluy,

  15 Your Honor, and basically the trustee in the Gibson case and

  16 ourselves and the other objector which is Fifth Third Bank all

  17 have reached agreement on an agreed order.

  18              There is one party missing and that’s Mr. Gibson and

  19 his bankruptcy counsel has informed us that they don’t have an

  20 objection to it, but he can’t get authorization -- he can’t get

  21 a hold of this client to get authorization to sign the

  22 agreement.

  23              MS. CARUSO:     Excuse me.       Debbie Caruso.     We’re in the

  24 adversary proceeding that’s pending in the Gibson case.                   Mr.

  25 Gibson is being deposed next week.             Perhaps you could show up


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   1 and make a record that he has no objection to the agreed entry.

   2              MR. RALUY:     I suppose we can do that.

   3              THE COURT:     All right.       Well, then why don’t you just

   4 let us know after that takes place, if in fact that is what

   5 took place.

   6              MR. RALUY:     Okay.

   7              MR. TONER:     This is Kevin Toner, Your Honor.

   8 Assuming the status moves over, this will eliminate the need

   9 for that February 1st trial.

  10              THE COURT:     Okay.    Right.     That’s what I was

  11 assuming, but I’m glad you made that clear.

  12              MR. TONER:     Yes, Your Honor.         If you have a minute I

  13 was going to inform the Court that we have settled the stay

  14 relief and the trial on February 1st in the Eastern case, as

  15 well.

  16              THE COURT:     Okay.    Very good.      That was the one with

  17 the bank from Kentucky, is that right?

  18              MR. TONER:     Tennessee, Your Honor.

  19              THE COURT:     Oh, Tennessee.       One of those southern

  20 states.

  21              MR. TONER:     Yes.

  22              THE COURT:     All right.       Okay.

  23              MR. RALUY:     Your Honor, Mr. Toner and I are going to

  24 be filing a motion to approve the settlement.               But, the terms

  25 that we’ve reached basically involve the 363 sale of the


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   1 property, the estate will receive 20 percent of the net sale

   2 proceeds and the bank will receive 80 percent of the proceeds.

   3              THE COURT:       All right.

   4              CALL OPERATOR:       Joining the meeting.

   5              MS. BRYANT:       Lisa Bryant here.

   6              THE COURT:       I think that was -- I think we just

   7 talked about Ms. Bryant’s -- isn’t she Peoples Bank?

   8              MR. RALUY:       Yes, Your Honor.

   9              MS. BRYANT:       Good morning, Your Honor.         I’m sorry I

  10 -- Mr. (indiscernible) probably told you I had a doctor’s

  11 appointment.

  12              THE COURT:       Well, I was just being told that that

  13 matter is settled.          There is a detail of getting Mr. Gibson’s

  14 consent that’s still hanging, and they’re going to ask him

  15 about that at the deposition next week.

  16              MS. BRYANT:       I’m sorry.      What was that, Your Honor?

  17              THE COURT:       The parties were just reporting that the

  18 matter is settled, but they have not been able to get explicit

  19 authority from Mr. Gibson to sign off, but that at his

  20 deposition next week they’re going to ask him if he consents to

  21 the settlement.

  22              MS. BRYANT:       Is this on the agreed entry on stay from

  23 relief on abandonment?

  24              THE COURT:       Yes.

  25              MR. TONER:       Yes.


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    1             MS. BRYANT:      Fred -- is Fred Simon appearing today?

    2             THE COURT:      No.

    3             MS. BRYANT:      Your Honor, I did get an e-mail from

    4 Fred last night stating that even though he hasn’t been able to

    5 get in touch with the Gibsons, he was not aware of any

    6 objections that they could raise.            So, he told me I was

    7 authorized to tell you that and if you wanted to go ahead and

    8 approve the agreed entry without Fred’s signature, Debbie

    9 Caruso has authorized me to sign, Ted King has authorized me to

   10 sign.

   11             So, Fred said he would -- you know, he had no

   12 objection to you entering the -- approving the agreed entry

   13 without his signature if the Court is okay with that.

   14             MR. LATOUR:      Your Honor, this is Randall LaTour from

   15 Fifth Third.      We may be talking about two separate motions,

   16 both involving Peoples Bank.          There is an adversary proceeding

   17 in the Eastern case involving Peoples Bank.

   18             THE COURT:      Right.

   19             MR. LATOUR:      There’s a separate motion for relief

   20 from stay on abandonment in the Gibson case regarding different

   21 property.    There is an agreed order in each of those instances.

   22             THE COURT:      Right.    No, I’m aware of that.         At this

   23 particular moment I was addressing the Gibson case because as I

   24 understood it that’s the one that a moment ago, Ms. Caruso, you

   25 indicated that you were going to try to get Mr. Gibson’s


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    1 consent on the record at his deposition, is that correct?

    2             MS. CARUSO:      Yeah, I would be happy to ask.           Although

    3 the deposition that has been noted in the adversary pending in

    4 the Gibson case relateding to other properties, I would be

    5 happy to question Mr. Gibson with respect to his consent to the

    6 agreed entry we’re discussing right now.

    7             THE COURT:      All right.      Well, I mean, let -- from the

    8 Court’s standpoint, if the parties are satisfied with the

    9 agreed entry I’ll approve it.           The -- you know, I don’t know

   10 that -- I mean I think Mr. Gibson -- the trustee can sign on

   11 behalf of Mr. Gibson, can’t they?

   12             MS. CARUSO:      I think you’re right on that, Your

   13 Honor.    And in light of Ms. Bryant’s appearance and

   14 presentation to the Court regarding her discussions with Mr.

   15 Simon, I do think that it would be appropriate.

   16             THE COURT:      All right.      Well get me the entry and an

   17 order approving and I’ll sign an order approving.

   18             MS. BRYANT:      All right.      Thank you all very much.

   19             THE COURT:      All right.

   20             MS. CARUSO:      Late, but very helpful.

   21             THE COURT:      Okay.    In Eastern a couple things that

   22 are not on the agenda and maybe you can status me on these

   23 matters.    What about this Rush Creek Ranch adversary?

   24             MR. NEWBERN:      Your Honor, this is Scott Newbern.

   25             THE COURT:      Yes?


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    1             MR. NEWBERN:      I represent one of the defendants in

    2 that matter.      It is being consolidated with another matter that

    3 is before the Court involving a payment into the court,

    4 directly into the -- under the fund by a Lynn Miller.

    5             Along with several other matters, I’m drafting the

    6 motion today and I will hopefully get counsel’s approval and

    7 we’ll file a stipulated motion for the consolidation.                 That’s

    8 what we talked about, and the holidays interfered with getting

    9 it done.

   10             THE COURT:      Okay.    That’s fine.      I’ll be looking for

   11 that.    Then also in Eastern we had an objection, a supplemental

   12 objection to the purchase money claims report filed by

   13 Hillard-McKettrick, et cetera.

   14             MR. NEWBERN:      That’s me, Your Honor, again Scott

   15 Newbern.

   16             THE COURT:      Yes.

   17             MR. NEWBERN:      The objection basically asks for the

   18 Court to look at the role in which Eastern acted as a means of

   19 narrowing the activity before the Court making rulings on what

   20 happens if Eastern acts as a broker, what happens when Eastern

   21 acts for their own account, what happens when Eastern acts as a

   22 clearing agency.

   23             I haven’t done anything with that motion, Your Honor,

   24 because I got the feeling from the last hearing that the Court

   25 was going in a different direction.


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    1              THE COURT:     All right.

    2              MR. NEWBERN:     I’m happy to refile it or, you know,

    3 ask the Court to address it.          There have been no responses that

    4 I know of.

    5              THE COURT:     Well, that’s what was brought to my

    6 attention that it’s just kind of hanging there.               I think I’ll

    7 status that for February also and see if -- I mean, you may

    8 want to refine, or amend that or abandon it depending on the

    9 orders that are issued prior to February 13th.

   10              MR. NEWBERN:     All right.      Very well, Your Honor.

   11 Thank you.

   12              THE COURT:     And then I believe also in Eastern in

   13 Friona I have a motion pursuant to Rule 56(d) to defer

   14 consideration or ruling upon the summary judgment motion until

   15 necessary discovery is completed.            So, I do think we need to

   16 address that because that’s one of the two orders that we’re

   17 working on.

   18              MS. GABBITAF:      Yes, Your Honor, this is Darla

   19 Gabbitaf on behalf of Peoples Bank from Coldwater, Kansas.                   I

   20 believe that’s our motion for summary judgment that we’re

   21 discussing and I --

   22              MR. TONER:     I don’t think -- this is Kevin Toner.

   23 I’m not sure that’s right.

   24              THE COURT:     No, it’s the --

   25              MS. GABBITAS:      Oh, my apologies then.        My apologies.


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    1             THE COURT:      It’s the Friona.       I think it’s the

    2 trustee’s motion that we’re talking about, isn’t it, Mr. Toner?

    3             MR. TONER:      Yes, I think it was about the response of

    4 the trustee’s summary judgment motion.

    5             THE COURT:      Right.

    6             MR. TONER:      If you’d like the trustee to get the

    7 response I would be happy to do that.             As you know, the motion

    8 presents (indiscernible) the matters of law, but we’d be happy

    9 to lay that out in short (indiscernible).

   10             THE COURT:      All right.      I think Ms. Delcotto filed

   11 that.    I don’t know if she’s on or not.

   12             MS. DELCOTTO:       Your Honor, I am on and I don’t know

   13 how to address that today.          I have begun to address with the

   14 trustee for instance and some of the discovery we’re starting

   15 to see, clearly there are documents that are material to the

   16 statutory trust issue that perhaps the trustee did not know

   17 about before he filed his motion.

   18             So, I’m just -- this is more confusion, ongoing

   19 confusion, on my part of the scope of some of these motions for

   20 partial summary judgment.         I mean, I do think the Court, as we

   21 discussed last time, can rule on this issue of whether

   22 (indiscernible) is an absolute bar, regardless of any evidence

   23 at all.

   24             But, when we start saying -- when we start going

   25 beyond that, then I guess I’m saying we’re just now in the


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    1 midst of this discovery protocol and no discovery has really

    2 been done.       And we’re starting to actually see documents that

    3 are very relevant and I think for them questions of fact.

    4              THE COURT:      So is basically what you’re saying -- I

    5 mean, I looked through this and it did look to me like when you

    6 start listing some of the issues of material fact -- first of

    7 all, I think what you just said is something that I stated last

    8 time and I agree with is that if you find that -- I mean, if I

    9 find that a constructive trust -- there can be no constructive

   10 trust then that ends the inquiry as a matter of law.                  If I find

   11 that a constructive trust can exist, it’s fact sensitive and

   12 more discovery is needed.          Is that what you’re saying?

   13              MS. DELCOTTO:       Yes, Your Honor, and it’s basically

   14 the same on a statutory trust.

   15              THE COURT:      All right.      Now some of the things that

   16 you seem to raise though as to the status of Fifth Third, their

   17 actions in resulting the return to maker checks and all that, I

   18 mean it seemed to me like that’s kind of outside the scope of

   19 this particular question.

   20              I mean, it might go to a later claim that they’re --

   21 they should be equitably subordinated or whatever, but it

   22 doesn’t seem to -- it didn’t seem to me at first glance that it

   23 was necessarily relevant to the pending motion.

   24              MS. DELCOTTO:       One of the -- we believe the trustee

   25 is saying two things.         They’re saying you can just never have


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    1 one period as a matter of law in bankruptcy.

    2             THE COURT:      Right.

    3             MS. DELCOTTO:       And they also say, well, there’s

    4 another tool which says look at the effect and the unjust

    5 enrichment and look at some other things and by saying what

    6 Fifth Third knew and when they knew it is directly relevant to

    7 whether someone is going to be unjustly enriched.

    8             MR. LATOUR:      Your Honor --

    9             THE COURT:      Well, let me -- before we get into a long

   10 discussion of this, let me say this.             I’m already far enough

   11 into this to say that if I rule that there can be a

   12 constructive trust, I understand that there’s going to have to

   13 be further discovery on the particularized circumstances.

   14             So, I think, you know, when I issue an order it’s

   15 either going to say no that you can’t have a constructive

   16 trust, or under these circumstances you can’t have a

   17 constructive trust or we’re going to have to have further

   18 proceedings to determine whether or not such a constructive

   19 trust could apply under these circumstances.

   20             So, I don’t know if that helps your anxiety or not,

   21 but I --

   22             MS. DELCOTTO:       I think you understand what I’m

   23 saying, Your Honor, and I’m willing to I guess take my chances

   24 on what these rulings are going to say for now.               But, I just

   25 want to make sure you understand that there has been very


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    1 little discovery done in this case.

    2             THE COURT:      All right.

    3             MR. TONER:      Your Honor, this is Kevin Toner.            I hate

    4 to leave the statutory trust comment just hanging because I

    5 just didn’t comment on it a few seconds ago.              The trustee’s

    6 position is that because there are no pre-petition judgments,

    7 as a matter of law that doesn’t happen.

    8             Specifically on our summary judgment motion as far as

    9 the need for discovery, if these parties in the Friona case

   10 have evidence about the trustee’s -- I’m sorry -- about

   11 Eastern’s status, if they’re in the possession of evidence,

   12 their clients know those transactions and none of them

   13 responded to this particular (indiscernible) responses to date,

   14 really comes back on the summary judgment motion as to that.

   15             So that would be our written response to the points

   16 she’s making in the motion you’ve raised just now.                  If you’d

   17 like us to lay that out in writing we’d be happy to.

   18             THE COURT:      I don’t --

   19             MS. DELCOTTO:       Judge, I would just say you haven’t

   20 really told us yet whether you’re ruling on the statutory trust

   21 motion or whether that’s just one that’s going to sit there a

   22 little while longer.

   23             I think some of the evidence that’s beginning to come

   24 out in Fifth Third’s possession specifically is (indiscernible)

   25 that talk about packers and stockyards and its implications.


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    1 And I don’t want to get into a big argument, but there are

    2 clearly (indiscernible) that begin to talk about Packers and

    3 Stockyards Act.

    4              I don’t know whether the trustee had that before he

    5 filed to say it’s a matter of summary judgment, but I disagree

    6 with that.

    7              MR. LATOUR:     Your Honor, this is Randall LaTour for

    8 Fifth Third.

    9              First of all, the question of constructive trust or

   10 statutory trusts are issues that go to whether a particular

   11 fund is property of the bankruptcy estate or not.

   12              What happens to that money after that determination

   13 is still going to be subject to a lot of debate, I’m quite

   14 sure.    And I think your earlier point that a lot of the

   15 discussion really goes to that latter question and not to the

   16 additional question whether it’s the property of the estate or

   17 not.

   18              Whether the documents of Fifth Third’s credit

   19 agreements have anything to say about packers and stockyards

   20 does not remotely change what the federal statute says.                  The

   21 federal statute makes clear that there is no statutory trust,

   22 and that’s been fully briefed by everybody.              So, there is no

   23 need for discovery on the statutory trust that comes from

   24 packers and stockyards.

   25              MS. DELCOTTO:      I disagree, Your Honor, but I don’t


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    1 know that now is when we need to be arguing about this.

    2             MR. LATOUR:      Well, I certainly didn’t expect the

    3 issue to arise.      The agenda was to the contrary.

    4             THE COURT:      All right.      Well, I’ve opened up the

    5 agenda somewhat, but I’m going to -- I’m just going to continue

    6 working on the motions that are in front of me.               To the extent

    7 that that motion asks the Court to defer consideration, I’m

    8 going to deny the motion.

    9             I do think -- you know, I will help expedite

   10 discovery with particularized motions and, you know, I’ll

   11 consider a request to file anything in addition that any party

   12 puts forward.

   13             I think we’ve just had recently a surreply in one of

   14 these matters.      So, I’m not foreclosing other considerations,

   15 but I’m not going to defer consideration because as I said last

   16 time and I think the time before, I think it’s time for the

   17 Court to start issuing some orders and that’s my intent within

   18 the next few weeks.

   19             MR. ROGERS:      Your Honor, very briefly.         This is John

   20 Rogers.    If I could just briefly add one thing.             There are of

   21 course a number of us who have framed arguments similar to the

   22 one raised by Ms. Delcotto today regarding the need for

   23 discovery and its bearing on the pending motion.               I think she’s

   24 kind of dealing with who filed the motion to defer

   25 consideration, but certainly what she has indicated brings a


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    1 relevance onto the discovery matter (indiscernible) posture.

    2              THE COURT:     Yes, I saw that there was -- some parties

    3 I think joined her motion.

    4              All right.     Anything else today?

    5              MR. TONER:     Your Honor, this is Kevin Toner again.                I

    6 can report that on the Okie matter and the Cattlemen’s

    7 transaction, $3 million was declared last week and that has

    8 been wrapped up.

    9              THE COURT:     Yes, I was told that.        That’s good.

   10              MR. TONER:     Okay.

   11              THE COURT:     Anything else?

   12              MS. BRYANT:     Your Honor, this is Lisa Bryant again,

   13 and again I do apologize that I got here late.               But, I don’t

   14 know if Debbie Caruso brought this up earlier, but I’m hearing

   15 that Debbie wants to file a report of sale with regard to the

   16 Pfrimmers Road property and the other property that she

   17 auctioned.

   18              And I did review her proposed report of sale and her

   19 tendered order of what my client (indiscernible) on the

   20 Pfrimmers property.        And I have been authorized by my client to

   21 advise the Court that we have no legal basis to object.                  We

   22 hate that it’s happening, but we have no legal basis to object

   23 to Debbie’s report of sales and tendered order of

   24 (indiscernible) on the Pfrimmers property.

   25              THE COURT:     All right.


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    1             MS. CARUSO:      Thank you.      I appreciate that.       I don’t

    2 believe -- I haven’t filed it yet, Lisa --

    3             MS. BRYANT:      I think (indiscernible) --

    4             MS. CARUSO:      He did?

    5             MS. BRYANT:      -- take a look at it and --

    6             MS. CARUSO:      Good.

    7             MS. BRYANT:      -- (indiscernible).

    8             MS. CARUSO:      And I appreciate that.         Your Honor, we

    9 did complete an auction of some real estate in the Gibson case

   10 and received somewhere over $200,000 from that sale, and now

   11 that is free and clear based on Ms. Bryant’s representation on

   12 consent to the avoidance.         So we’ll be filing that, Lisa, and,

   13 Your Honor, sometime today or tomorrow.

   14             THE COURT:      All right.      Very good.    Thank you.

   15 Anything else from anyone?          All right.     We’re adjourned.

   16             THE ATTORNEYS:       Thank you.

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                  I, JANET D. PERSONS, court approved transcriber,

       certify that the foregoing is a correct transcript from the

       official electronic sound recording of the proceedings in the

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       /s/ Janet D. Persons

       JANET D. PERSONS

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